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                                                                                APn   os 201s U/
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



                                                            19CR 300
    UNITED STATES OF AMERICA
                                              )   No.
          v.                                  )
                                              )   Violations: Title 18, United States
    I"AMONT IIAGGARD                          )   Code, Sections 922(9,)(L) and 924(e)
                                              )
                                                                         JUDGE IWRGTT

          The SPECIAL JUNE 2018 GRAND JURY              charges:   IIilAGISTRATE JUDGE'   U'[tEEf,f

          On or about January 4,2019, at Chicago, in the Northern District of Illinois,

    Eastern Division, and elsewhere,

                                  I,AMONT IIAGGARD,

    defendant herein, having previously been convicted of a crime punishable by a term

    of imprisonment exceeding one year, did knowingly         possess,   in and affecting
    interstate commerce, a firearm, namely a loaded FN, model FNS-9, nine-millimeter

    handgun, bearing serial number GKU0068126, and ammunition, namely \2 rounds

    of Sig nine-millimeter Luger bullets and 4 rounds of FC nine-millimeter Luger

    bullets, which fi.rearm and ammunition had traveled in interstate commerce prior to

    defendant's possession of the firearm and ammunition;

          In violation of fitle 18, United States Code, Sections 922(dO) and 924(e)..
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                                   FORFEITURE ALLEGATION

              The SPECIAL JUNE 2018 GRAND ruRY turther alleges:

              1.     Upon conviction of an offense inviolation ofTitle 18, United States Code,

        Section 922(d, as set forth in this Indictment, defendant shall forfeit to the United

        States of America arry firearm and ammunition involved"     in and used in the   offense,

        as provided in   Title 18, United States   Code, Section 924(dX1) and   Title 28, United

        States Code, Section 246L(c).

              2.     The property to be forfeited includes, but is not limited to a FN, mod.el

        FNS-9, nine-millimeter handgun, bearing serial mr-mber GKU0068126, and

        associated ammunition, namely L2 rounds of Sig nine-millimeter Luger bullets and 4

        rounds of FC nine-millimeter Luger bullets.


                                                        A TRUE BILL:




                                                        FOREPERSON



        UNITED STATES ATTORNEY
